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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

CODY KING,                             )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
LEE & OH-MARTINEZ                      )
PLAZA, LLC,                            )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, CODY KING, by and through the undersigned counsel, and

files this, his Complaint against Defendant LEE & OH-MARTINEZ PLAZA, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District

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of Georgia, Atlanta Division.

                                      PARTIES

      3.     Plaintiff CODY KING (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in Conyers, Georgia

(Rockdale County).

      4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

      5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

      6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

      7.     Defendant LEE & OH-MARTINEZ PLAZA, LLC (hereinafter

“Defendant”) is a Georgia limited liability company that transacts business in the

state of Georgia and within this judicial district.

      8.     Defendant may be properly served with process via its registered

agent for service, to wit: Jinhee Lee, 1522 Pine Log Road, Suite G, Conyers,

Georgia 30012.

                            FACTUAL ALLEGATIONS

      9.     On or about January 21, 2022, Plaintiff was a customer at “La

Morenita Mexican Food,” a business located at 1522 Pine Log Road, N.E.,


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Conyers, Georgia 30012.

      10.      Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous, multi-tenant

structure and improvements situated upon said real property shall be referenced

herein as the “Facility,” and said real property shall be referenced herein as the

“Property”).

      11.      Plaintiff lives approximately nine (9) miles from the Facility and

Property.

      12.      Plaintiff’s access to the business(es) located at 1522 Pine Log Road,

N.E., Conyers, Georgia 30012 (Rockdale County Property Appraiser’s parcel

number 069001003S), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of his disabilities, and he will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.      Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The total number of accessible parking spaces on the Property

              complying with section 502 of the 2010 ADAAG standards is

              inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (ii)    The accessible parking spaces on the Property are missing

              proper identification signage, in violation of section 502.6 of

              the 2010 ADAAG standards.

      (iii)   The accessible parking space on the Property is not adequately

              marked, in violation of section 502.1 of the 2010 ADAAG

              standards.

      (iv)    The access aisle adjacent to the accessible parking space on the

              Property is not wide enough, in violation of section 502.3.1 of


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        the 2010 ADAAG standards.

(v)     The accessible parking space on the Property and its adjacent

        access aisle each have a slope in excess of 1:48 (one to forty-

        eight), and are not level, in violation of section 502.4 of the

        2010 ADAAG standards.

(vi)    The access aisle adjacent to the accessible parking space on the

        Property is also not level due to the presence of a ramp within

        the boundaries of said access aisle, in violation of section 502.4

        of the 2010 ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the “La Morenita” portion of the Facility has a

        bar lacking any portion of which that has a maximum height of

        34” (thirty-four inches) from the finished floor, in violation of

        section 902.3 of the 2010 ADAAG standards.

(ii)    The interior accessible route leading to the men’s restroom in

        the “La Morenita” portion of the Facility has a 1” vertical rise

        that is not properly ramped, in violation of sections 303.4 and

        403.2 of the 2010 ADAAG standards.

(iii)   There is a vertical rise exceeding ½” (one half inch) at the


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       threshold of the restroom entrances in the “La Morenita”

       portion of the Facility, in violation of section 404.2.5 of the

       2010 ADAAG standards.

(iv)   The urinals in the men’s restroom in the “La Morenita” portion

       of the Facility exceeds the maximum permissible height set

       forth in section 605.2 of the 2010 ADAAG standards.

(v)    There is inadequate clear turning space in the toilet stall in the

       men’s restroom in the “La Morenita” portion of the Facility, in

       violation of section 603.2.1 of the 2010 ADAAG standards.

(vi)   The hand operated flush controls on the commodes in the

       accessible toilet stall in the men’s restroom in the “La

       Morenita” portion of the Facility is not located on the open side

       of the accessible stall, in violation of section 604.6 of the 2010

       ADAAG standards.

(vii) The grab bars adjacent to the commode in the men’s restroom

       in the “La Morenita” portion of the Facility is not positioned in

       accordance with sections 604.5 and 609.4 of the 2010 ADAAG

       standards.

(viii) The accessible toilet stall door in the men’s restrooms in the


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             “La Morenita” portion of the Facility is not self-closing, in

             violation of section 604.8.2.2 of the 2010 ADAAG standards.

      (ix)   The men’s restroom in the “La Morenita” portion of the Facility

             has a sink that does not provide for adequate knee and toe

             clearance thereunder, in violation of section 606.2 of the 2010

             ADAAG standards. Further, this sink has exposed pipes and

             surfaces that are not insulated or configured to protect against

             contact with the skin, in violation of section 606.5 of the 2010

             ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to locate and utilize an accessible parking space

on the Property, more difficult for Plaintiff to exit and re-enter his vehicle while on

the Property, and rendered the restroom in the “La Morenita” portion of the

Facility entirely inaccessible to Plaintiff.

      32.    The violations enumerated above are not a complete list of the

barriers, conditions or violations encountered by Plaintiff or which exist at the

Facility and Property.     Upon information and good faith belief, the women’s

restroom in the “La Morenita” portion of the Facility has a significant number of

violations of the 2010 ADAAG standards.


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      33.   Plaintiff requires an inspection of the Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.


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      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and


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             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: February 15, 2022.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

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